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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

  THOMAS FASONE,

         Plaintiff,                             CASE NO. 6:10-cv-1684-Orl-19KRS


  v.

  NATIONAL ACTION FINANCIAL SERVICES,

        Defendant.
  _____________________________________/

                  STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, THOMAS FASONE, and the Defendant, NATIONAL ACTION

  FINANCIAL SERVICES, by and through their undersigned attorneys, having amicably

  settled, compromised and adjusted all matters heretofore in controversy in the above-

  styled cause, hereby stipulate to the dismissal of this action with prejudice, each party to

  bear their own fees and costs. Plaintiff requests that this Court retain jurisdiction over

  this claim solely for the purpose of enforcing the settlement agreement should either

  party fail to perform any obligations there under.


                                                        RESPECTFULLY SUBMITTED,

                                                By: _/s/ James Pacitti_________
                                                    James Pacitti
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